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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                         :
                                                  :
        v.                                        : Case No. 21-cr-23 (TJK)
                                                  :
 JOSHUA PRUITT,                                   :
                                                  :
                                                  :
                  Defendant.                      :

    JOINT STATUS REPORT REGARDING RAPPAHANNOCK REGIONAL JAIL

       The parties respectfully submit this joint status report in response to the Court’s May 18,

2022 Minute Order, which directed the parties to address whether defendant’s recent transfer to

Rappahannock Regional Jail resolves concerns about his ability to review discovery and

otherwise prepare for trial. The parties have conferred and believe that it does. Rappahannock

Regional Jail is approximately 40 miles from defense counsel’s office, half the distance of

Central Virginia Regional Jail, where defendant was previously being held.

                                                     Respectfully submitted,

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